Case 18-32106 Document 178-4 Filed in TXSB on 06/06/18 Page 1 of 1

sankormm*$ YOur checking account

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Deposits and other credits

 

 

 

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